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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


JONATHAN L. WORTH,

       Petitioner

v.                                                           Case No.: 8:14-cv-693-T-24MAP
                                                                       8:10-cr-417-T-24MAP

UNITED STATES OF AMERICA,

       Respondent.
                                   /


                                            ORDER

       This cause is before the Court upon Petitioner Jonathan L. Worth’s request for a certificate

of appealability. (Cv. Dkt. 29). On January 12, 2015, the Court previously denied Petitioner’s 28

U.S.C. § 2255 motion and found that he was not entitled to a certificate of appealability. (Cv. Dkt.

18). In doing so, the Court found that Petitioner had not made the requisite showing needed for a

certificate of appealability. The Court subsequently denied Petitioner’s motion for reconsideration.

(Cv. Dkt. 27). Accordingly, the Court denies the instant motion for the same reasons set forth in

the Court’s January 12, 2015 order denying Petitioner’s § 2255 motion. (Cv. Dkt. 18).

       DONE AND ORDERED at Tampa, Florida, this 22nd day of June, 2015.




Copies to:
Counsel of Record
Pro Se Petitioner 
